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                                                          WHITE SCC (MR) 0261
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 2 of 260 Page ID #1461




                                                          WHITE SCC (MR) 0262
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 3 of 260 Page ID #1462




                                                          WHITE SCC (MR) 0263
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 4 of 260 Page ID #1463




                                                          WHITE SCC (MR) 0264
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 5 of 260 Page ID #1464




                                                          WHITE SCC (MR) 0265
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 6 of 260 Page ID #1465




                                                          WHITE SCC (MR) 0266
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 7 of 260 Page ID #1466




                                                          WHITE SCC (MR) 0267
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 8 of 260 Page ID #1467




                                                          WHITE SCC (MR) 0268
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 9 of 260 Page ID #1468




                                                          WHITE SCC (MR) 0269
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 10 of 260 Page ID #1469




                                                           WHITE SCC (MR) 0270
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 11 of 260 Page ID #1470




                                                           WHITE SCC (MR) 0271
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 12 of 260 Page ID #1471




                                                           WHITE SCC (MR) 0272
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 13 of 260 Page ID #1472




                                                           WHITE SCC (MR) 0273
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 14 of 260 Page ID #1473




                                                           WHITE SCC (MR) 0274
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 15 of 260 Page ID #1474




                                                           WHITE SCC (MR) 0275
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 16 of 260 Page ID #1475




                                                           WHITE SCC (MR) 0276
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 17 of 260 Page ID #1476




                                                           WHITE SCC (MR) 0277
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 18 of 260 Page ID #1477




                                                           WHITE SCC (MR) 0278
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 19 of 260 Page ID #1478




                                                           WHITE SCC (MR) 0279
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 20 of 260 Page ID #1479




                                                           WHITE SCC (MR) 0280
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 21 of 260 Page ID #1480




                                                           WHITE SCC (MR) 0281
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 22 of 260 Page ID #1481




                                                           WHITE SCC (MR) 0282
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 23 of 260 Page ID #1482




                                                           WHITE SCC (MR) 0283
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 24 of 260 Page ID #1483




                                                           WHITE SCC (MR) 0284
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 25 of 260 Page ID #1484




                                                           WHITE SCC (MR) 0285
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 26 of 260 Page ID #1485




                                                           WHITE SCC (MR) 0286
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 27 of 260 Page ID #1486




                                                           WHITE SCC (MR) 0287
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 28 of 260 Page ID #1487




                                                           WHITE SCC (MR) 0288
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 29 of 260 Page ID #1488




                                                           WHITE SCC (MR) 0289
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 30 of 260 Page ID #1489




                                                           WHITE SCC (MR) 0290
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 31 of 260 Page ID #1490




                                                           WHITE SCC (MR) 0291
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 32 of 260 Page ID #1491




                                                           WHITE SCC (MR) 0292
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 33 of 260 Page ID #1492




                                                           WHITE SCC (MR) 0293
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 34 of 260 Page ID #1493




                                                           WHITE SCC (MR) 0294
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 35 of 260 Page ID #1494




                                                           WHITE SCC (MR) 0295
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 36 of 260 Page ID #1495




                                                           WHITE SCC (MR) 0296
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 37 of 260 Page ID #1496




                                                           WHITE SCC (MR) 0297
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 38 of 260 Page ID #1497




                                                           WHITE SCC (MR) 0298
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 39 of 260 Page ID #1498




                                                           WHITE SCC (MR) 0299
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 40 of 260 Page ID #1499




                                                           WHITE SCC (MR) 0300
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 41 of 260 Page ID #1500




                                                           WHITE SCC (MR) 0301
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 42 of 260 Page ID #1501




                                                           WHITE SCC (MR) 0302
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 43 of 260 Page ID #1502




                                                           WHITE SCC (MR) 0303
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 44 of 260 Page ID #1503




                                                           WHITE SCC (MR) 0304
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 45 of 260 Page ID #1504




                                                           WHITE SCC (MR) 0305
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 46 of 260 Page ID #1505




                                                           WHITE SCC (MR) 0306
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 47 of 260 Page ID #1506




                                                           WHITE SCC (MR) 0307
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 48 of 260 Page ID #1507




                                                           WHITE SCC (MR) 0308
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 49 of 260 Page ID #1508




                                                           WHITE SCC (MR) 0309
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 50 of 260 Page ID #1509




                                                           WHITE SCC (MR) 0310
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 51 of 260 Page ID #1510




                                                           WHITE SCC (MR) 0311
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 52 of 260 Page ID #1511




                                                           WHITE SCC (MR) 0312
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 53 of 260 Page ID #1512




                                                           WHITE SCC (MR) 0313
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 54 of 260 Page ID #1513




                                                           WHITE SCC (MR) 0314
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 55 of 260 Page ID #1514




                                                           WHITE SCC (MR) 0315
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 56 of 260 Page ID #1515




                                                           WHITE SCC (MR) 0316
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 57 of 260 Page ID #1516




                                                           WHITE SCC (MR) 0317
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 58 of 260 Page ID #1517




                                                           WHITE SCC (MR) 0318
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 59 of 260 Page ID #1518




                                                           WHITE SCC (MR) 0319
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 60 of 260 Page ID #1519




                                                           WHITE SCC (MR) 0320
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 61 of 260 Page ID #1520




                                                           WHITE SCC (MR) 0321
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 62 of 260 Page ID #1521




                                                           WHITE SCC (MR) 0322
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 63 of 260 Page ID #1522




                                                           WHITE SCC (MR) 0323
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 64 of 260 Page ID #1523




                                                           WHITE SCC (MR) 0324
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 65 of 260 Page ID #1524




                                                           WHITE SCC (MR) 0325
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 66 of 260 Page ID #1525




                                                           WHITE SCC (MR) 0326
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 67 of 260 Page ID #1526




                                                           WHITE SCC (MR) 0327
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 68 of 260 Page ID #1527




                                                           WHITE SCC (MR) 0328
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 69 of 260 Page ID #1528




                                                           WHITE SCC (MR) 0329
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 70 of 260 Page ID #1529




                                                           WHITE SCC (MR) 0330
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 71 of 260 Page ID #1530




                                                           WHITE SCC (MR) 0331
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 72 of 260 Page ID #1531




                                                           WHITE SCC (MR) 0332
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 73 of 260 Page ID #1532




                                                           WHITE SCC (MR) 0333
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 74 of 260 Page ID #1533




                                                           WHITE SCC (MR) 0334
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 75 of 260 Page ID #1534




                                                           WHITE SCC (MR) 0335
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 76 of 260 Page ID #1535




                                                           WHITE SCC (MR) 0336
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 77 of 260 Page ID #1536




                                                           WHITE SCC (MR) 0337
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 78 of 260 Page ID #1537




                                                           WHITE SCC (MR) 0338
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 79 of 260 Page ID #1538




                                                           WHITE SCC (MR) 0339
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 80 of 260 Page ID #1539




                                                           WHITE SCC (MR) 0340
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 81 of 260 Page ID #1540




                                                           WHITE SCC (MR) 0341
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 82 of 260 Page ID #1541




                                                           WHITE SCC (MR) 0342
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 83 of 260 Page ID #1542




                                                           WHITE SCC (MR) 0343
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 84 of 260 Page ID #1543




                                                           WHITE SCC (MR) 0344
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 85 of 260 Page ID #1544




                                                           WHITE SCC (MR) 0345
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 86 of 260 Page ID #1545




                                                           WHITE SCC (MR) 0346
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 87 of 260 Page ID #1546




                                                           WHITE SCC (MR) 0347
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 88 of 260 Page ID #1547




                                                                WHITE SCC (MR) 0348
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 89 of 260 Page ID #1548




                                                                WHITE SCC (MR) 0349
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 90 of 260 Page ID #1549




                                                                WHITE SCC (MR) 0350
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 91 of 260 Page ID #1550




                                                                WHITE SCC (MR) 0351
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 92 of 260 Page ID #1551




                                                                WHITE SCC (MR) 0352
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 93 of 260 Page ID #1552




                                                                WHITE SCC (MR) 0353
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 94 of 260 Page ID #1553




                                                                WHITE SCC (MR) 0354
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 95 of 260 Page ID #1554




                                                                WHITE SCC (MR) 0355
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 96 of 260 Page ID #1555




                                                                WHITE SCC (MR) 0356
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 97 of 260 Page ID #1556




                                                                WHITE SCC (MR) 0357
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 98 of 260 Page ID #1557




                                                                WHITE SCC (MR) 0358
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 99 of 260 Page ID #1558




                                                                WHITE SCC (MR) 0359
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 100 of 260 Page ID #1559




                                                                WHITE SCC (MR) 0360
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 101 of 260 Page ID #1560




                                                                WHITE SCC (MR) 0361
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 102 of 260 Page ID #1561




                                                                WHITE SCC (MR) 0362
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 103 of 260 Page ID #1562




                                                                WHITE SCC (MR) 0363
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 104 of 260 Page ID #1563




                                                                WHITE SCC (MR) 0364
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 105 of 260 Page ID #1564




                                                                WHITE SCC (MR) 0365
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 106 of 260 Page ID #1565




                                                                WHITE SCC (MR) 0366
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 107 of 260 Page ID #1566




                                                                WHITE SCC (MR) 0367
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 108 of 260 Page ID #1567




                                                                WHITE SCC (MR) 0368
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 109 of 260 Page ID #1568




                                                                WHITE SCC (MR) 0369
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 110 of 260 Page ID #1569




                                                               WHITE,R SCC (MR) 0370
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 111 of 260 Page ID #1570




                                                               WHITE,R SCC (MR) 0371
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 112 of 260 Page ID #1571




                                                               WHITE,R SCC (MR) 0372
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 113 of 260 Page ID #1572




                                                               WHITE,R SCC (MR) 0373
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 114 of 260 Page ID #1573




                                                               WHITE,R SCC (MR) 0374
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 115 of 260 Page ID #1574




                                                               WHITE,R SCC (MR) 0375
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 116 of 260 Page ID #1575




                                                               WHITE,R SCC (MR) 0376
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 117 of 260 Page ID #1576




                                                               WHITE,R SCC (MR) 0377
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 118 of 260 Page ID #1577




                                                               WHITE,R SCC (MR) 0378
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 119 of 260 Page ID #1578




                                                               WHITE,R SCC (MR) 0379
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 120 of 260 Page ID #1579




                                                               WHITE,R SCC (MR) 0380
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 121 of 260 Page ID #1580




                                                               WHITE,R SCC (MR) 0381
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 122 of 260 Page ID #1581




                                                               WHITE,R SCC (MR) 0382
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 123 of 260 Page ID #1582




                                                               WHITE,R SCC (MR) 0383
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 124 of 260 Page ID #1583




                                                               WHITE,R SCC (MR) 0384
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 125 of 260 Page ID #1584




                                                               WHITE,R SCC (MR) 0385
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 126 of 260 Page ID #1585




                                                               WHITE,R SCC (MR) 0386
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 127 of 260 Page ID #1586




                                                               WHITE,R SCC (MR) 0387
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 128 of 260 Page ID #1587




                                                               WHITE,R SCC (MR) 0388
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 129 of 260 Page ID #1588




                                                               WHITE,R SCC (MR) 0389
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 130 of 260 Page ID #1589




                                                               WHITE,R SCC (MR) 0390
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 131 of 260 Page ID #1590




                                                               WHITE,R SCC (MR) 0391
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 132 of 260 Page ID #1591




                                                           WHITE SCC (MR) 0392
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 133 of 260 Page ID #1592




                                                           WHITE SCC (MR) 0393
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 134 of 260 Page ID #1593




                                                           WHITE SCC (MR) 0394
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 135 of 260 Page ID #1594




                                                           WHITE SCC (MR) 0395
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 136 of 260 Page ID #1595




                                                           WHITE SCC (MR) 0396
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 137 of 260 Page ID #1596




                                                           WHITE SCC (MR) 0397
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 138 of 260 Page ID #1597




                                                           WHITE SCC (MR) 0398
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 139 of 260 Page ID #1598




                                                           WHITE SCC (MR) 0399
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 140 of 260 Page ID #1599




                                                           WHITE SCC (MR) 0400
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 141 of 260 Page ID #1600




                                                           WHITE SCC (MR) 0401
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 142 of 260 Page ID #1601




                                                           WHITE SCC (MR) 0402
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 143 of 260 Page ID #1602




                                                           WHITE SCC (MR) 0403
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 144 of 260 Page ID #1603




                                                           WHITE SCC (MR) 0404
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 145 of 260 Page ID #1604




                                                           WHITE SCC (MR) 0405
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 146 of 260 Page ID #1605




                                                           WHITE SCC (MR) 0406
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 147 of 260 Page ID #1606




                                                           WHITE SCC (MR) 0407
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 148 of 260 Page ID #1607




                                                           WHITE SCC (MR) 0408
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 149 of 260 Page ID #1608




                                                           WHITE SCC (MR) 0409
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 150 of 260 Page ID #1609




                                                           WHITE SCC (MR) 0410
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 151 of 260 Page ID #1610




                                                           WHITE SCC (MR) 0411
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 152 of 260 Page ID #1611




                                                           WHITE SCC (MR) 0412
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 153 of 260 Page ID #1612




                                                           WHITE SCC (MR) 0413
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 154 of 260 Page ID #1613




                                                           WHITE SCC (MR) 0414
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 155 of 260 Page ID #1614




                                                           WHITE SCC (MR) 0415
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 156 of 260 Page ID #1615




                                                           WHITE SCC (MR) 0416
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 157 of 260 Page ID #1616




                                                           WHITE SCC (MR) 0417
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 158 of 260 Page ID #1617




                                                           WHITE SCC (MR) 0418
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 159 of 260 Page ID #1618




                                                           WHITE SCC (MR) 0419
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 160 of 260 Page ID #1619




                                                           WHITE SCC (MR) 0420
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 161 of 260 Page ID #1620




                                                           WHITE SCC (MR) 0421
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 162 of 260 Page ID #1621




                                                           WHITE SCC (MR) 0422
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 163 of 260 Page ID #1622




                                                                WHITE SCC (MR) 0423
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 164 of 260 Page ID #1623




                                                                WHITE SCC (MR) 0424
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 165 of 260 Page ID #1624




                                                                WHITE SCC (MR) 0425
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 166 of 260 Page ID #1625




                                                                WHITE SCC (MR) 0426
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 167 of 260 Page ID #1626




                                                                WHITE SCC (MR) 0427
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 168 of 260 Page ID #1627




                                                                WHITE SCC (MR) 0428
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 169 of 260 Page ID #1628




                                                                WHITE SCC (MR) 0429
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 170 of 260 Page ID #1629




                                                                WHITE SCC (MR) 0430
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 171 of 260 Page ID #1630




                                                                WHITE SCC (MR) 0431
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 172 of 260 Page ID #1631




                                                                WHITE SCC (MR) 0432
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 173 of 260 Page ID #1632




                                                                WHITE SCC (MR) 0433
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                                                                WHITE SCC (MR) 0434
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                                                                WHITE SCC (MR) 0435
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                                                                WHITE SCC (MR) 0436
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                                                                WHITE SCC (MR) 0437
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                                                                WHITE SCC (MR) 0438
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 179 of 260 Page ID #1638




                                                                WHITE SCC (MR) 0439
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                                                                WHITE SCC (MR) 0440
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                                                                WHITE SCC (MR) 0441
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 182 of 260 Page ID #1641




                                                                WHITE SCC (MR) 0442
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                                                                WHITE SCC (MR) 0443
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 184 of 260 Page ID #1643




                                                                WHITE SCC (MR) 0444
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 185 of 260 Page ID #1644




                                                                WHITE SCC (MR) 0445
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 186 of 260 Page ID #1645




                                                                WHITE SCC (MR) 0446
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 187 of 260 Page ID #1646




                                                                WHITE SCC (MR) 0447
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 188 of 260 Page ID #1647




                                                                WHITE SCC (MR) 0448
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 189 of 260 Page ID #1648




                                                                WHITE SCC (MR) 0449
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 190 of 260 Page ID #1649




                                                                WHITE SCC (MR) 0450
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 191 of 260 Page ID #1650




                                                                WHITE SCC (MR) 0451
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 192 of 260 Page ID #1651




                                                                WHITE SCC (MR) 0452
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 193 of 260 Page ID #1652




                                                                WHITE SCC (MR) 0453
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 194 of 260 Page ID #1653




                                                                WHITE SCC (MR) 0454
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 195 of 260 Page ID #1654




                                                                WHITE SCC (MR) 0455
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 196 of 260 Page ID #1655




                                                                WHITE SCC (MR) 0456
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 197 of 260 Page ID #1656




                                                                WHITE SCC (MR) 0457
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 198 of 260 Page ID #1657




                                                                WHITE SCC (MR) 0458
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 199 of 260 Page ID #1658




                                                                WHITE SCC (MR) 0459
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 200 of 260 Page ID #1659




                                                                WHITE SCC (MR) 0460
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 201 of 260 Page ID #1660




                                                                WHITE SCC (MR) 0461
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 202 of 260 Page ID #1661




                                                                WHITE SCC (MR) 0462
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 203 of 260 Page ID #1662




                                                                WHITE SCC (MR) 0463
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 204 of 260 Page ID #1663




                                                                WHITE SCC (MR) 0464
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 205 of 260 Page ID #1664




                                                                WHITE SCC (MR) 0465
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                                                                WHITE SCC (MR) 0466
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 207 of 260 Page ID #1666




                                                                WHITE SCC (MR) 0467
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 208 of 260 Page ID #1667




                                                                WHITE SCC (MR) 0468
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 209 of 260 Page ID #1668




                                                                WHITE SCC (MR) 0469
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 210 of 260 Page ID #1669




                                                                WHITE SCC (MR) 0470
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 211 of 260 Page ID #1670




                                                                WHITE SCC (MR) 0471
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 212 of 260 Page ID #1671




                                                                WHITE SCC (MR) 0472
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 213 of 260 Page ID #1672




                                                                WHITE SCC (MR) 0473
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 214 of 260 Page ID #1673




                                                                WHITE SCC (MR) 0474
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 215 of 260 Page ID #1674




                                                                WHITE SCC (MR) 0475
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                                                                WHITE SCC (MR) 0476
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 217 of 260 Page ID #1676




                                                                WHITE SCC (MR) 0477
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                                                                WHITE SCC (MR) 0478
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 219 of 260 Page ID #1678




                                                                WHITE SCC (MR) 0479
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 220 of 260 Page ID #1679




                                                                WHITE SCC (MR) 0480
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 221 of 260 Page ID #1680




                                                                WHITE SCC (MR) 0481
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 222 of 260 Page ID #1681




                                                                WHITE SCC (MR) 0482
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 223 of 260 Page ID #1682




                                                                WHITE SCC (MR) 0483
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 224 of 260 Page ID #1683




                                                                WHITE SCC (MR) 0484
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 225 of 260 Page ID #1684




                                                                WHITE SCC (MR) 0485
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 226 of 260 Page ID #1685




                                                                WHITE SCC (MR) 0486
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 227 of 260 Page ID #1686




                                                                WHITE SCC (MR) 0487
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 228 of 260 Page ID #1687




                                                                WHITE SCC (MR) 0488
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 229 of 260 Page ID #1688




                                                                WHITE SCC (MR) 0489
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 230 of 260 Page ID #1689




                                                                WHITE SCC (MR) 0490
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                                                                WHITE SCC (MR) 0491
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 232 of 260 Page ID #1691




                                                                WHITE SCC (MR) 0492
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 233 of 260 Page ID #1692




                                                                WHITE SCC (MR) 0493
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 234 of 260 Page ID #1693




                                                                WHITE SCC (MR) 0494
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 235 of 260 Page ID #1694




                                                                WHITE SCC (MR) 0495
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 236 of 260 Page ID #1695




                                                                WHITE SCC (MR) 0496
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 237 of 260 Page ID #1696




                                                                WHITE SCC (MR) 0497
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 238 of 260 Page ID #1697




                                                                WHITE SCC (MR) 0498
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 239 of 260 Page ID #1698




                                                                WHITE SCC (MR) 0499
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                                                                WHITE SCC (MR) 0500
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                                                                WHITE SCC (MR) 0501
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 242 of 260 Page ID #1701




                                                                WHITE SCC (MR) 0502
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 243 of 260 Page ID #1702




                                                                WHITE SCC (MR) 0503
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 244 of 260 Page ID #1703




                                                                WHITE SCC (MR) 0504
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 245 of 260 Page ID #1704




                                                                WHITE SCC (MR) 0505
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                                                                WHITE SCC (MR) 0506
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 247 of 260 Page ID #1706




                                                                WHITE SCC (MR) 0507
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 248 of 260 Page ID #1707




                                                                WHITE SCC (MR) 0508
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 249 of 260 Page ID #1708




                                                                WHITE SCC (MR) 0509
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                                                                WHITE SCC (MR) 0510
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                                                                WHITE SCC (MR) 0511
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                                                                WHITE SCC (MR) 0512
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                                                                WHITE SCC (MR) 0513
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                                                                WHITE SCC (MR) 0514
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                                                                WHITE SCC (MR) 0515
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                                                                WHITE SCC (MR) 0516
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                                                                WHITE SCC (MR) 0517
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 258 of 260 Page ID #1717




                                                                WHITE SCC (MR) 0518
Case 3:18-cv-00165-MAB Document 114-3 Filed 12/14/20 Page 259 of 260 Page ID #1718




                                                                WHITE SCC (MR) 0519
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                                                                WHITE SCC (MR) 0520
